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                       Exhibit 1
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                                             THE WHITE HOUSE
                                                WASHINGTON

                                             February 22, 2017

MEMORANDUM FOR ALL PERSONNEL

THROUGH: DONALD F. McGAHN II
         Counsel to the President

FROM:            STEFAN C. PASSANTINO
                 Deputy Counsel to the President, Compliance and Ethics

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SUBJECT:         Presidential Records Act Obligations

Purpose

To remind all personnel of their obligation to preserve and maintain presidential records, as
required by the Presidential Records Act (“PRA”).

Discussion

The PRA requires that the Administration take steps “to assure that the activities, deliberations,
decisions, and policies that reflect the performance of the President’s constitutional, statutory, or
other official or ceremonial duties are adequately documented and that such records are
preserved and maintained.” This memorandum outlines what materials constitute “presidential
records” and what steps you must take to ensure their preservation.

What Are Presidential Records?

“Presidential records” are broadly defined as “documentary materials . . . created or received by
the President, the President’s immediate staff, or a unit or individual of the Executive Office of
the President whose function is to advise or assist the President, 1 in the course of conducting
activities which relate to or have an effect upon the carrying out of the constitutional, statutory,
or other official or ceremonial duties of the President.” Presidential records include material in
both paper and electronic form.
1
 The PRA applies to the following Executive Office of the President (“EOP”) entities: White House Office, Office
of the Vice President, Council of Economic Advisors, Executive Residence, Office of Administration, Office of
Policy Development (DPC and NEC), National Security Council, President’s Commission on White House Fellows,
and President’s Intelligence Advisory Board.
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Some materials that are considered presidential records include:

           •   Memos, letters, notes, emails, faxes, reports, and other written communications
               sent to or received from others, including materials sent to or received from
               persons outside government;

           •   Drafts, marked-up edits, or comments that are circulated or shown to others;

           •   Notes or minutes of meetings that are circulated or shown to others;

           •   Meeting minutes, memos to file, notes, drafts, and similar documents that are
               created or saved for the purpose of accurately documenting the activities or
               deliberations of the Administration, even if such materials are not circulated or
               shown to others;

           •   PowerPoint presentations, audio recordings, photos, and video footage;

           •   Emails, chats, and other electronic communications that are created or received in
               the course of conducting activities related to the performance of the President’s
               duties, but that are sent from or received on non-official accounts; and

           •   Transition materials, but only if they are used in the course of official government
               business.

Purely personal records that do not relate to or have an effect upon the carrying out of the
President’s official duties do not need to be preserved. Similarly, political records need not be
preserved unless they relate to or have a direct effect upon the President’s official duties.
Finally, certain materials that lack historic value are not covered by the PRA – for example,
notes, drafts, and similar documents that are not circulated or that are not created or saved for the
purpose of documenting the activities or deliberations of the Administration.

What Steps Should Be Taken to Preserve Presidential Records?

Paper Records. You should preserve hard-copy presidential records in organized files. To the
extent practicable, you should categorize materials as presidential records when they are created
or received. You should file presidential records separately from other material. Paper records
are typically collected at the end of your White House service, but may be collected at an earlier
point by contacting the White House Office of Records Management (“WHORM”). Any records
collected by WHORM remain available to the staff member who provided them.

Electronic Records. You must preserve electronic communications that are presidential
records. You are required to conduct all work-related communications on your official
EOP email account, except in emergency circumstances when you cannot access the EOP
system and must accomplish time sensitive work. Emails and attachments sent to and from your
EOP account are automatically archived.
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Ifyou ever send or receive email that qualifies as a presidential record using any other account,
you must preserve that email by copying it to your official EOP email account or byforwarding
it to your official email account within twenty (20) days . After preserving the email, you must
delete it from the non-EOP account. Any employee who intentionally fails to take these actions
may be subject to administrative or even criminal penalties.

The same rnles apply to other fonns of electronic communication, including text messages. You
should not use instant m essaging systems, social networks, or other internet-based means of
electronic communication to conduct official business without the approval ofthe Office of
the White House Counsel. If you ever generate or receive presidential records on such
platfo1ms, you must preserve them by sending them to your EOP email account via a screenshot
or other means. After prese1v ing the communications, you must delete them from the non-EOP
platfo1m.

Electronic documents that qualify as presidential records and only exist in electronic format must
be saved on your network drive or regularly synchronized to it. You must archive files that you
are no longer using; you must not delete them. Your network drive will be captured upon your
depa1ture from the EOP, which will secure any presidential records you have saved.

At all times, please keep in mind that presidential records are the prope1ty of the United States.
You may not dispose of presidential records. When you leave EOP employment, you may not
take any presidential records with you. You also may not take copies of any presidential records
without prior authorization from the Counsel's office. The willful destruction or concealment of
federal records is a federal crime punishable by fines and imprisonment.

Any questions about com liance with the Presidential Records Act ma
Passantino                                    , Scott Gast                                , or Jim
Schultz
